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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF COLORADO

In re: )
)
TERRY LEE EVANSON, } Case No. 13-19032 MER
LYNETTE PEARCE EVANSON, ) Chapter 11
)
Debtors. )

 

MOTION FOR EXAMINATION OF
TERRY LEE EVANSON AND LYNETTE PEARCE EVANSON

 

COMMAND CENTER, INC. (“Command Center”), through tts undersigned counsel,
respectfully moves this Court for an Order Authorizing Command Center to take the Examination
of the Debtors, Mr. Terry Lee Evanson and Ms. Lynette Pearce Evanson, pursuant to Fed.R.Bankr.P.
2004, and states as follows:

lL. Terry Lee Evanson and Lynette Pearce Evanson (collectively the “Debtors’),
voluntarily filed for relief under Chapter 11 of Title 11 of the United States Code
(“Bankruptcy Code”) on May 28, 2013 (“Petition Date”).

2, In the Debtors’ Statement of Financial Affairs filed in connection with their
bankruptcy case, the Debtors listed litigation involving AdvantEdge Insurance
Group, LLC and Command Center pending in the District Court, City and County
of Denver, Colorado, Case No. 2010CV4135 (the “Civil Action”). See Docket No.
21, p. 2. The Debtors aiso schedule the debts owed to Command Center as
contingent, unliquidated and disputed in the amount of $1,500,000. /d., p. 22.

3, Pre-petition, Command Center, Mr. Evanson, Ms. Evanson and AdvantEdge
Insurance Group, LLC, among others were involved in the Civil Action. The Civil
Action stems out of the Debtors’ (among others) alleged civil theft of the monies and
property of Command Center through a several year scheme of overcharging
Command Center on the premiums for insurance policies brokered through Mr.
Evanson, Keith Anderson and their affiliates.

4. Command Center learned of the scheme to convert its funds after many bank
statements, emails, and other information were produced in discovery in the Civil
Action. Command Center also learned that the excess premiums were diverted by
Mr. Evanson, Mr. Anderson and others to their affiliates. AdvantEdge Insurance
Group, LLC is owned by Ms. Lynette Evanson. However, Command Center learned
that AdvantEdge Insurance Group, LLC operated as an unlicensed insurance agency
in Colorado, it did not maintain corporate records or hold corporate meetings, it did

EXHIBIT

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Case No. 13-19032 MER

 

 
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not have any employees, it did not have any assets, and was set up for the sole
purpose of funneling monies to Mr. Anderson and/or Mr. Evanson, among others.

5, Based upon its investigation to date, Command Center has suffered damages in
excess of $832,063.24, not including attorney’s fees and costs or treble damages.
The Debtors allegedly received the benefit of over $59,081.00 of Command Center’s
over payment of premiums to AdvantEdge Insurance Group, LLC. Command Center
has suffered additional damages which are unrelated to this Motion,

6. Command Center desires to examine the Debtors as to the full extent of the Debtors’
financial affairs, including, but not limited to, the Debtors’ knowledge and affiliation
with the following persons and/or entities:

a. AdvantEdge Insurance Group, LLC;
b. AdvantEdge Business Group, LLC (an entity affiliated with the Debtors who
allegedly received Command Center’s funds);

c. Moreton Insurance of Colorado, LLC (Mr. Evanson’s entity of which he was
the Chairman);
d. Keith Anderson (who also allegedly received Command Center’s funds);

e. World Wide Specialty Programs, Inc. (an entity affiliated with AdvantEdge
Insurance Group, LLC which was to divide the commissions paid by
Command Center);

f Kootenay Management (an unregistered entity affiliated with Mr. Keith
Anderson); and,

g. Cathy Anderson (Mr. Keith Anderson’s spouse who allegedly received funds
of Command Center).

7 Based upon Command Center’s investigation to date, Command Center believes that
there are a number of significant discrepancies in the Debtors” bankruptcy Schedules
and Statement of Financial Affairs and the sources of their pre-petition income.
Command Center also desires to examine the Debtors as to matters which may affect
the administration of the Debtors’s estate, including the Debtors’ undisclosed receipt
of Command Center’s funds, the nature and extent of the Debtors’ ownership of their
residence, and the Debtors’ other debts and liabilities identified by the Debtors in
their Schedules.

8. In conjunction with examination, Command Center may compel the production of
certain records which they believes are in the Debtors’ possession, pursuant to
Fed.R.Bankr.P. 9016, more fully set forth in Exhibit 1 attached hereto.

9, Command Center therefore secks authority from this Court to conduct an
examination of the Debtors pursuant to Fed.R.Bankr.P. 2004. See Jn re Buick, 174
B.R. 299, 306 (Bankr.D.Cola. 1994); In re Blinder, Robinson & Co., Inc., 127 B.R.
267 (D.Colo. 1991).

 
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10. Command Center will set the date of the examination no earlier than ten (10) days
following the date of the Order, at the offices of Command Center’s litigation
counsel,

WHEREFORE, Command Center respectfully requests that this Court enter an Order

authorizing the examination of Mr. Terry Lee Evanson and Ms. Lynette Pearce Evanson, pursuant
to Fed.R.Bankr.P. 2004, and for such other and further relief as this Court deems appropriate.

DATED this 22nd day of July, 2013.

Respectfully submitted,
BUECHLER LAW OFFICE, L.L.C.

‘sf Kenneth J. Buechier

 

Kenneth J. Buechler, #30906
1621 18" Street, Suite 260
Denver, Colorada 80202
Tel: 720-381-0045

Fax: 720-381-0382
ken@kjblawoffice.com

 
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EXHIBIT |

Produce the following documents:

Personal Financial Information

1.

All records for all of your accounts, including, but not limited to, bank accounts,
checking accounts, payroll accounts, savings accounts, money market accounts, Ms.
Evanson’s account at US Bank, Ms. Evanson’s account at Wells Fargo Bank, your
account at Public Service Credit Union, your account at Red Rocks Credit Union,
your account at Wells Fargo Bank, including, but not limited to, bank statements,
check ledgers, cancelled checks, deposit slips, and wire transfer records, from
January |, 2006 to the present.

All records for any and all accounts in which you had signatory authority, other than
the accounts identified in Request No. |, including, but not limited to, bank accounts,
checking accounts, payroll accounts, savings accounts, money market accounts, cash
card accounts, debit card accounts, including, but not limited to, bank statements,
check ledgers, cancelled checks, deposit slips, and wire transfer records, from
January 1, 2006 to the present.

All records for any and alli credit cards, limes of credit, and other credit facilities
available to you and/or from you exercised and/or received funds, including
statements, wire transfers, payments, credit card checks, ledgers, etc., from January
1, 2006 to the present, including, but not limited to, all American Express accounts,
Bank of America accounts, Chase accounts, Citi accounts, Discover accounts, US
Bank accounts, and Wells Fargo accounts.

All income tax returns, including all schedules and attachments for the years 2006
through the present for yourself, including any United States federal returns, and
state returns, and any tax return filed by you and/or on your behalf outside of the
United States.

Allloan applications, credit applications, financial statements, credit reports, balance
sheets, profit and loss statements, contaiming any financial information of Terry Lee
Evanson and Ms. Lynette Pearce Evanson, between January 1, 2006 to the present,
including, but not limited to, all applications submitted to Hill Properties and
Cottonwood Financial for the encumbrance against your residence and the loan on
the 2007 Volkswagen Jetta through Red Rocks Credit Union.

All books and financial records including, but not limited to, general ledgers, balance
sheets, profit and loss reports, income statements, accounts payable, and accounts
receivable between January |, 2006 and the present for yourself, whether in written
or electronic format (including all “Quickbooks” or other accounting software

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program files containing the requested information).

7, All documents and records evidencing any income, revenues and receipts by you
from January 1, 2006 to the present, including all receipts from Mr. Terry Evanson’s
Canada Pension Plan, Mr. Terry Evanson’s Sunlife Financial Policy dividends, any
other pension plan, IRA, 401(k), retirement plan, stock brokerage account, mutual
fund account, and/or life insurance dividend.

8. All document evidencing any debt owed to Alpine Credit within the four years prior
to the Petition Date, including an application for credit in October 2012.

9, All documents evidencing any tithing to any religious or other institution within the
four years prior to the Petition Date.

10. A list of all bookkeepers and/or accountants who within the four years prior to the
Petition Date kept or supervised the keeping of your books of account or your
records.

ll. <A list of any other person who within the four years prior to the Petition Date held
or kept your books of account or your records.

12. All documents related to any and all real property owned by you within the four
years prior to the Petition Date, including, but not limited to, deeds, deeds of trust,
mortgages, settlement statements, title insurance, mortgage statements, appraisals,
lease agreements, rent rolls, rent receipts, tax assessments, tax payments, property
insurance policies, property expenses, tax returns, etc.

13. AH documents related to any and all vehicles owned by you and/or registered in your
name, within the four years prior to the Petition Date, including, but not limited to,
Certificates of Title, bills of sale, loans, credit agreements, insurance cards and
policies, registration, lease agreements, etc.

14. — All documents evidencing any and all real and personal property insurance for any
and all real and personal property owned by you, including but not limited to, the
insurance policy for your residence and all personal property located at the residence,
including all lists of personal property covered by such policies and the value of such
property covered,

15. Ail copy of all cell and/or mobile phone biils for you for the four years prior to the
Petition Date, including, an identification of all calls made to and/or from your cell

and/or mobile phone.

16. All documents evidencing a lease agreement between you and the Lawn Mowing
Company identified in Question 14 of your Statement of Financial Affairs, including,

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any lease agreement, checks paid to you, money orders, receipts, invoices, bills, etc.

17. All documents evidencing your use and/or ownership of a Ford Mustang and a
Chevrolet Corvette, including, but not limited to, any Certificates of Title, vehicle
registrations, loans, security agreements, loan applications, credit applications, bills
of sale, insurance policies, etc.

Affiliated Corporate Information

lL. All records for all accounts of AdvantEdge Insurance Group, LLC, including, but not
limited to, bank accounts, checking accounts, payroll accounts, savings accounts,
money market accounts, and/or which anyone from and/or affiliated with Advantage
Insurance Group, LLC, had signatory authority, including, but not limited to, bank
statements, check ledgers, cancelled checks, deposit slips, and wire transfer records,
from January |, 2006 to the present.

2. All corporate records for AdvantEdge Insurance Group, LLC, including, but not
limited to, Operating Agreement, minutes of meetings, resolutions, authorizations,
amendments, membership certificates, correspondence, email communications,
memorandums, etc., from January 1, 2006 to the present.

3. All books and financial records for AdvantEdge Insurance Group, LLC, including,
but not limited to, general ledgers, balance sheets, profit and loss reports, income
statements, accounts payable, and accounts receivable between January 1, 2006 and
the present, whether in written or electronic format (including all “Quickbooks” or
other accounting software program files containing the requested information).

4. Allrecords for all accounts of AdvantEdge Business Group, LLC, including, but not
limited to, bank accounts, checking accounts, payroll accounts, savings accounts,
money market accounts, and/or which anyone from and/or affiliated with Advantage
Business Group, LLC, had signatory authority, including, but not limited to, bank
statements, check ledgers, cancelled checks, deposit slips, and wire transfer records,
from January 1, 2006 to the present.

5, All corporate records for AdvantEdge Business Group, LLC, including, but not
limited to, Operating Agreement, minutes of meetings, resolutions, authorizations,
amendments, membership certificates, correspondence, email communications,
memorandums, etc., from January 1, 2006 to the present.

6, All books and financial records for AdvantEdge Business Group, LLC, including,
but not limited to, general ledgers, balance sheets, profit and loss reports, income
statements, accounts payable, and accounts receivable between January 1, 2006 and
the present, whether in written or electronic format (including all “Quickbooks” or
other accounting software program files containing the requested information).

3.

 
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7. All records for all accounts of Moreton Insurance of Colorado, LLC, including, but

not limited to, bank accounts, checking accounts, payroll accounts, savings accounts,
money market accounts, and/or which anyone from and/or affiliated with Moreton
Insurance of Colorado, LLC, had signatory authority, including, but not limited to,
bank statements, check ledgers, cancelled checks, deposit slips, and wire transfer
records, from January 1, 2006 to the present.

8. All corporate records for Moreton Insurance of Colorado, LLC, including, but not
limited to, Operating Agreement, minutes of meetings, resolutions, authorizations,
amendments, membership certificates, membership rolls, correspondence, email
communications, memorandums, etc., from January 1, 2006 to the present,

9, All books and financial records for Moreton Insurance of Colorado, LLC, including,
but not limited to, general ledgers, balance sheets, profit and loss reports, income
statements, accounts payable, and accounts receivable between January 1, 2006 and
the present, whether in written or electronic format (including all “Quickbooks” or
other accounting software program files containing the requested information).

10. — All records for all accounts of World Wide Specialty Programs, Inc., including, but
not limited to, bank accounts, checking accounts, payroll accounts, savings accounts,
money market accounts, and/or which anyone from and/or affiliated with World
Wide Specialty Programs, Inc., had signatory authority, including, but not limited to,
bank statements, check ledgers, cancelled checks, deposit slips, and wire transfer
records, from January 1, 2006 to the present.

il, All records for all accounts of Kootenay Management, including, but not limited to,
bank accounts, checking accounts, payroll accounts, savings accounts, money market
accounts, and/or which anyone from and/or affiliated with Kootenay Management,
had signatory authority, including, but not limited to, bank statements, check ledgers,
cancelled checks, deposit slips, and wire transfer records, from January 1, 2006 to
the present.

12, All corporate records for Kootenay Management, including, but not limited to, any
by laws or operating agreement, minutes of meetings, resolutions, authorizations,
amendments, evidence of the owners of Kootenay Management, evidence of the
persons in control of Kootenay Management, correspondence, email
communications, memorandums, etc., from January 1, 2006 to the present.

13. All books and financial records for Kootenay Management, including, but not limited
to, general ledgers, balance sheets, profit and loss reports, income statements,
accounts payable, and accounts receivable between January 1, 2006 and the present,
whether in written or electronic format (including all “Quickbooks” or other
accounting software program files containing the requested information).

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14. All records for all accounts of Europacific Properties, including, but not limited to,
bank accounts, checking accounts, payroll accounts, savings accounts, money market
accounts, and/or which anyone from and/or affiliated with Europacific Properties,
had signatory authority, including, but not limited to, bank statements, check ledgers,
cancelled checks, deposit slips, and wire transfer records, from January 1, 2006 to
the present.

15. All corporate records for Europacific Properties, including, but not limited to, any
by laws or operating agreement, minutes of meetings, resolutions, authorizations,
amendments, evidence of the owners of Europacific Properties, evidence of the
persons in control of Europacific Properties, correspondence, email communications,
memorandums, etc., from January 1, 2006 to the present.

16. All books and financial records for Europacific Properties, including, but not limited
to, general ledgers, balance sheets, profit and loss reports, income statements,
accounts payable, and accounts receivable between January |, 2006 and the present,
whether in written or electronic format (including all “Quickbooks” or other
accounting software program files containing the requested information).

17. All records for all accounts of Masters Business Essentials, Inc., including, but not
limited to, bank accounts, checking accounts, payrol! accounts, savings accounts,
money market accounts, and/or which anyone from and/or affiliated with Masters
Business Essentials, Inc., had signatory authority, including, but not limited to, bank
statements, check ledgers, cancelled checks, deposit slips, and wire transfer records,
from January 1, 2006 to the present.

18. All corporate records for Masters Business Essentials, Inc., including, but not limited
to, any by laws or operating agreement, minutes of meetings, resolutions,
authorizations, amendments, evidence of the owners of Masters Business Essentials,
Inc., evidence of the persons in control of Masters Business Essentials, Inc.,
correspondence, email communications, memorandums, etc., from January |, 2006
to the present,

19. All books and financial records for Masters Business Essentials, Inc., including, but
not limited to, general ledgers, balance sheets, profit and loss reports, income
statements, accounts payable, and accounts receivable between January |, 2006 and
the present, whether in written or electronic format (including all “Quickbooks” or
other accounting software program files containing the requested information).

20, All records for all accounts of Northwest Rentals, LLC - Colorado, including, but not
limited to, bank accounts, checking accounts, payroll accounts, savings accounts,
money market accounts, and/or which anyone from and/or affiliated with Northwest
Rentals, LLC - Colorado, had signatory authority, including, but not limited to, bank

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statements, check ledgers, cancelled checks, deposit slips, and wire transfer records,
from January 1, 2006 to the present.

All corporate records for Northwest Rentals, LLC - Colorado, including, but not
limited to, any by laws or operating agreement, minutes of meetings, resolutions,
authorizations, amendments, evidence of the owners of Northwest Rentals, LLC -
Colorado, evidence of the persons in control of Northwest Rentals, LLC - Colorado,
correspondence, email communications, memorandums, etc., from January |, 2006
to the present.

All books and financial records for Northwest Rentals, LLC - Colorado, including,
but not limited to, general ledgers, balance sheets, profit and loss reports, income
statements, accounts payable, and accounts receivable between January |, 2006 and
the present, whether in written or electronic format (including all “Quickbooks” or
other accounting software program files containing the requested information).

Allrecords for all accounts of Northwest Rentals, LLC - Montana, including, but not
limited to, bank accounts, checking accounts, payroll accounts, savings accounts,
money market accounts, and/or which anyone from and/or affiliated with Northwest
Rentals, LLC - Montana, had signatory authority, including, but not limited to, bank
statements, check ledgers, cancelled checks, deposit slips, and wire transfer records,
from January 1, 2006 to the present.

All corporate records for Northwest Rentals, LLC - Montana, including, but not
limited to, any by laws or operating agreement, minutes of meetings, resolutions,
authorizations, amendments, evidence of the owners of Northwest Rentals, LLC -
Montana, evidence of the persons in control of Northwest Rentals, LLC - Montana,
correspondence, email communications, memorandums, etc., from January 1, 2006
to the present.

All books and financial records for Northwest Rentals, LLC - Montana, including,
but not limited to, general ledgers, balance sheets, profit and loss reports, income
statements, accounts payable, and accounts receivable between January 1, 2006 and
the present, whether in written or electronic format (including all “Quickbooks” or
other accounting software program files containing the requested information).

All records for ali accounts of T.L. Holdings, inc., including, but not limited to, bank
accounts, checking accounts, payroll accounts, savings accounts, money market
accounts, and/or which anyone from and/or affiliated with T.L. Holdings, Inc., had
signatory authority, including, but not limited to, bank statements, check ledgers,
cancelled checks, deposit slips, and wire transfer records, from January 1, 2006 to
the present.

All corporate records for T.L. Holdings, Inc., inckuding, but not Innited to, any by

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laws or operating agreement, minutes of meetings, resolutions, authorizations,
amendments, evidence of the owners of T.L. Holdings, Inc., evidence of the persons
in control of T.L. Holdings, Inc., correspondence, email communications,
memorandums, etc., from January |, 2006 to the present.

All books and financial records for T.L. Holdings, Inc., including, but not limited to,
general ledgers, balance sheets, profit and loss reports, income statements, accounts
payable, and accounts receivable between January |, 2006 and the present, whether
in written or electronic format (including ali “Quickbooks” or other accounting
software program files containing the requested information).

All records for all accounts of Hill Properties, including, but not limited to, bank
accounts, checking accounts, payroll accounts, savings accounts, money market
accounts, and/or which anyone from and/or affiliated with Hill Properties, had
signatory authority, including, but not limited to, bank statements, check ledgers,
cancelled checks, deposit slips, and wire transfer records, from January |, 2006 to
the present,

All corporate records for Hill Properties, including, but not limited to, any by laws
or operating agreement, minutes of meetings, resolutions, authorizations,
amendments, evidence of the owners of Hill Properties, evidence of the persons in
contro! of Hill Properties, correspondence, email communications, memorandums,
etc., from January 1, 2006 to the present.

All books and financial records for Hill Properties, including, but not limited to,
general ledgers, balance sheets, profit and loss reports, income statements, accounts
payable, and accounts receivable between January 1, 2006 and the present, whether
in written or electronic format (including all “Quickbooks” or other accounting
software program files containing the requested information).

All records for all accounts of Netco, LLC, including, but not limited to, bank
accounts, checking accounts, payroll accounts, savings accounts, money market
accounts, and/or which anyone from and/or affiliated with Netco, LLC, had signatory
authority, including, but not limited to, bank statements, check ledgers, cancelled
checks, deposit slips, and wire transfer records, from January 1, 2006 to the present.

All corporate records for Netco, LLC, including, but not limited to, any by laws or
operating agreement, minutes of meetings, resolutions, authorizations, amendments,
evidence of the owners of Netco, LLC, evidence of the persons in control of Netco,
LLC, correspondence, email communications, memorandums, etc., from January |,
2006 to the present.

All books and financial records for Netco, LLC, including, but not limited to, general
ledgers, balance sheets, profit and loss reports, income statements, accounts payable,

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and accounts receivable between January |, 2006 and the present, whether in written
or electronic format (including all “Quickbooks” or other accounting software
program files containing the requested information).

35. All records for all accounts of TRST, LLC, including, but not limited to, bank
accounts, checking accounts, payroll accounts, savings accounts, money market
accounts, and/or which anyone from and/or affiliated with TRST, LLC, had
signatory authority, including, but not limited to, bank statements, check ledgers,
cancelled checks, deposit slips, and wire transfer records, from January 1, 2006 to
the present.

36. All corporate records for TRST, LLC, including, but not limited to, any by laws or
operating agreement, minutes of meetings, resolutions, authorizations, amendments,
evidence of the owners of TRST, LLC, evidence of the persons in control of TRST,
LLC, correspondence, email communications, memorandums, etc., from January 1,
2006 to the present.

37. All books and financial records for TRST, LLC, including, but not limited to, general
ledgers, balance sheets, profit and loss reports, income statements, accounts payable,
and accounts receivable between January |, 2006 and the present, whether in written
or electronic format (including all “Quickbooks” or other accounting software
program files containing the requested information),

 
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UNITED STATES BANKRUPTCY COURT

 

 

 

DISTRICT OF COLORADO
Inre AdantEdge Insurance Group, LLC)
Debtor ) .
)  BanlaupteyCaseNo.  [3-10006 MER
)
Command Center, Inc. } Chapter 7
Plaintiff )
)
)
}
AdvantEdge Insurance Group, LLC)
Defendant(s) )
)
) Adv. Pra. No.
OBJECTION TO DISCHARGE
AND

COMPLAINT UNDER 523(a)(2),(4) & (6) OF THE BANKRUPTCY CODE TO DETERMINE
THE DISCHARGEABILITY OF A DEBT

Command Center, Inc., as Plaintiff herein, complains of Debtor and Defendant, AdvantEdge

Insurance Group, LLC as follows:

JURISDICTION AND VENUE

1, This Court has jurisdiction over the subject matter of this adversary proceeding pursuant
to the provisions of 28 U.S.C. §1334, This adversary proceeding relates to the Chapter 7 case of
AdvantEdge Insurance Group, LLC, Case No, 13-10006-MER, now pending in the United States
Bankruptcy Court for the District of Colorado. The matter is a core proceeding pursuant to 28

U.S.C. §157.

2, Venue herein is proper pursuant! to the provisions of 28 U.S.C, §1409,

EXHIBIT
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GENERAL ALLEGATIONS

3, On January 2, 2013, Debtor filed a voluntary petition for relief under the provisions of

Chapter 7 of the United States Bankruptey Code.

4, When Debtor filed its petition it was in the middle of legal proceedings, in Denver
District Court, which are pending under the caption and docket number of AdvantEdge Insurance
Group, LLC vy, Command Center, Inc. v. Moreton Insurance of Colorado, LLC v. World Wide
Specialty Programs, Inc, v. Terry Evanson v. Lynette Evanson v. Keith Anderson, Civil Action
No. 2010CV4135 (Civil Action). While the litigation was instituted by AdvantEdge Insurance
Group, LLC, the counter-claims against AdvantEdge Insurance Group, LLC, ef al. involve
fraud, inter alia, affirmative fraud, civil thefl and breach of fiduciary duties. (Complaint filed by

AdvantEdge Insurance Group, LLC, Attached as Exhibit 1).

3 The counter-claims were asserted by Command Center, Inc. after discovery of bank
statements, emails and other information which show the thefi of monies from Command Center,
Tnc., by AdvantEdge insurance Group, LLC, Moreton Insurance of Colorado, LLC, Terry
Evanson and Keith Anderson. Specifically, Command Center, Inc. alleges that Terry Evanson as
Chairman of Moreton Insurance of Colorado, LLC introduced Keith Anderson, his associate, to
Command Center, Inc. to assist in the placement of Command’s insurance policies. Terry
Evanson then directed Mr. Anderson to use his wife’s entity, AdvantFidge Insurance Group,
LLC, for the placement of Command’s workers’ compensation, general Liability and umbrella
policies. Mr. Anderson and Mr, Evanson then added excess premiurn to the payment, beyond
$120,000.00 in disclosed commissions, and they then retained the excess, (Third Amended

Complaint filed by Command Center, Inc., Attached as Exhibit 2).

 

 
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6. AdvantEdge Insurance Group, LLC, Moreton Insurance of Colorado, LLC, Terry
Evanson and Keith Anderson placed the policies through AIG without properly marketing the
policies causing Command Center, Inc., to pay premiums that were higher than they would have
been in the open market, Command Center, Inc. alleges those premiums were 1.4 million higher

than they would have been had the palicy been properly marketed.

7. AdvantEdge Insurance Group, LLC’s 30(b}(6) deposition was taken in the Civil Action.

‘The following facts were established by the AdvantEdge designees:

A. Advanilidge is a one member LLC, The sole member is Lynette Evanson. (Tara
Griffin as 30(b)(6) of AdvantEdge, hereinafter Exhibit 3; Depo. Trs. Pg. 10, IH. 20-25).

B. AdvantEdge operated as an unlicensed insurance agency in the State of Colorado.
(Ex, 3; Pg. 6-7, fl. 25-3).

Cc AdvantEdge did not maintain corporate records.
D. AdvantEdge did not hoid member manager meetings. (Ex. 3, Pg. 11, ll, 9-11).
E, AdvantEdge had no employees, (Ex. 3, 11, I. 15-16).

F, Advantedge has at this time no assets and did not have assets in 2008. (Fx. 3, Pg.
11, I. 18-21),

G. Additionally, AdvantEdge was used as “[a] vehicle for moving money when an
insurance placement was made,...” (Keith Anderson as 30(b)(6) designee, hereinafter
Exhibit 4; Depo. Trs. Pg. 9-10, ll, 24-4),

H. Mr. Anderson testified that AdvantEdge was a vehicle for pushing revenue to
him. (First Deposition of Keith Anderson, hereinafter Exhibit 5; Depo Trs, Pg. 9, ll. 4-7).

I. Command was AdvantEdge’s only client. (Ex. 3, Pg. 12, Il, 2-8).
J, Mr, Anderson solicited false bids for Command insurance policies.

K. Mr, Anderson falsely signed insurance docurnents as an officer of Command,
(Ex. 5, Pg, 60-62, Il, 3-21),

 

 
 

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L. Mr. Anderson testified that any money that he received from Command in excess
of what he was invoiced by Worldwide he retained. (Second Deposition of Keith
Anderson, hereinafter Ex. 6, Pg. 65-67, ll. 2-16),

M, Mr. Anderson testified that after the payment for rent and use of computers to an
unknown entity, all of AdvantEdge’s funds were piven to him. (Ex. 5, Pg. 47-49, Il. 23+
8).

N. AdvantEdge’s bank statements indicate funds paid by Command wete given to

Mr. Anderson, Mr, Evanson, Mrs. Anderson, and Moreton. (Bank Statements of
AdvaniEdge from 2005 to 2008, attached as Exhibit 7).

8. Terry Evanson and Keith Anderson were, at the time of the relevant transactions, licensed
insurance agents, Moreton Insurance of Colorado, LLC is a licensed insurance agency,
AdvantEdge Insurance Group, LLC is and was an unlicensed insurance agency. Insurance
agents and agency, whether properly licensed or not, are governed by the State in which they are

doing business, in this case, Colorado.

9, Insurance agents and agencies have statutory fiduciary duties imposed on them pursuant
to C.R.S. §10-2-704 regarding the acceptance, remittance and return of unearned premiums. In
this case, Command alleges that AdvantEdge Insurance Group, LLC, Moreton Insurance of
Colorado, LLC, Terry Evanson and Keith Anderson retained approximately $832,063.24 in

unearned premium, or excess premium.

{0. If one applies the attached spreadsheet, supported by the bank records {also attached),
Keith Anderson, working under the supervision of Terry Evanson (who received portions of the
money shown to have been used in the form of credit card payments), knowingly obtained
money in excess of the premiums actually owed for Command’s Workers’ Compensation,
General Liability and Umbrella policies on or about: May 24, 2006; June 9, 2006, July 11, 2006;

August 1], 2006; September 11, 2006; October 11, 2006; November 13, 2006; December 12,

 

 
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2006; January 12, 2007; February 12, 2007; May 14, 2007; June 12, 2007; July 11, 2007; July
18, 2007; August 13, 2007; August 20, 2007; September 12, 2007; October 15, 2007;November
13, 2007; November 19, 2007; Decernber 12, 2007; and May 16, 2008, Keith Anderson and/or
Terry Evanson misrepresented the amount of premiums owed by Command for its Workers’
Compensation, General Liability and Umbrella policies. They then, with the intent to deprive
Command of its funds, knowingly concealed from Command, for their own uses, on or about:
May 26, 2006: $46,366.05; June 13, 2006: $37,500.00; July 12, 2006; $37,500.00; August 14,
2006: $25,000.00; September 13, 2006: $25,000.00; October 12, 2006: $25,000.00; November
13, 2006: $25,000.00; December 12, 2006: $25,000.00; January 16, 2007: $25,000.00; February
13, 2007: $68,617.00; May 17, 2007: $74,279,69; June 13, 2007: $7,500.00; July 16, 2007:
$28,750,00; July 20, 2007: $28,750.00; August 13, 2007: $32,631.50; August 21, 2007:
$24,868.50; September 13, 2007: $57,500.00; October 15, 2007: $57,500.00; November 13,
2007: $57,500.00; December 13, 2007: $57,500.00; May 16, 2008: $185,300.50, for a total of
$832,063.24. (Spreadsheet attached as Exhibit 8).

ll. The disbursement of the $832,063.24 to AdvantEdge insiders is varied; however, the
bank records indicate the following:

* September 2006: a credit card payment was made for Keith Anderson in the
amount of $1,013,73;

e September 2006: multiple credit card payments were made for Terry Evanson in
the amount of $15,000.00;

e October 2006: a credit card payment was made for Keith Anderson in the amount
of $1,668.83;

* November 2006; multiple credit card payments were made for T erry Evanson in
the amount of $34,081.02;

* December 2006: a credit card payment for Terry Evanson was made in the
amount of $10,000.00;

« December 2006: a credit card payment for Keith Anderson was made in the
amount of $234.61;

 

 
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¢ January 2007: a credit card payment was made for Keith Anderson in the amount
of $2,650.26 and for Cathy Anderson in the amount of $2,883.76:

* February 2007; a credit card payment for Keith Anderson in the amount of
$1,023.70;

* November 2007: a credit card payment was made for Cathy Anderson in the
amount of $5,658.59;

e December 2007: a credit card payment was made for Keith Anderson in the
amount of $3,410.24 and for Cathy Anderson in the amount of $3,985.49;

* January 2007: a credit card payment was made for Cathy Anderson in the amount
of $3,022,71 and for Keith Anderson in the amount of $687.67;

¢ February 2007; a credit card payment was made for Cathy Anderson in the

amount of $670.35 and for Keith Anderson in the amount of $46.46:

* March 2008: a credit card payment was made for Keith Anderson of $1,730.13.
Additional monies were paid to Kootenay Management (Keith Anderson’s
unregistered Utah entity), Keith Anderson, his family members and Terry
Evanson, as well as vatious other entities involved in no business relationship
with Command,

12, “Colorado follows the general rule that insurance agents have a duty to act with
reasonable care toward their insureds, but, absent a special relationship between the insured and
the insurer’s agent, that agent has no affirmative duty to advise or warn his or her-customer about
the provisions contained in an insurance policy.” Kaercher v, Sater, et al, 155 P.3d 437, 441
(Colo. App. 2006), citations omitted. Failing to act with reasonable care toward an insured
provides the basis for a negligence claim against an insurance agent. However, the agents, by
their actions, can also create a special relationship with an insured. “Whether a special
relationship has been formed turns on whether there is ‘entrustment,’ that is, whether the agent or
broker assumes additional responsibilities beyond those which attach to an ordinary, reasonable
agent possessing normal competencies and skills.” Kaercher, citations omitted. A special
relationship is evidenced by a long-standing relationship of entrustment which can be evidenced
by the agent receiving additional compensation for their services, above and beyond

commissions from premiums, /d. at 442, The long-standing relationship prong has been held to

be ofa lesser importance than the entrustment prong. Id. at 441,

 

 

 
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13. This conduct occurred over several years. After Command terminated its policies with
the parties to the Civil Action, AdvantEdge’s bank account was plundered, and AdvantEdge
Insurance Group, LLC was left as an empty shell,
14. AdvantEdge Insurance Group, LLC then instituted suit against Command Center, Inc.,
for the recovery of alleged commissions on the cancelled policies and for a declaratory judgment
regarding commissions paid on the cancelled policies,
FIRST CLAIM FOR RELIEF

(Objection to Discharge — Pursuant to 11 U.S.C, §727(3))
15, Plaintife adopts and hereby incorporates by reference, and alleges herein all of the
allegations set forth in paragraphs 1 through 14, inclusive, as if set forth individually in the first
claim for relief.
16. Pursuant to 11 U.S.C. §727(3), the Court shall grant a discharge unless “ihe debtor has
concealed, destroyed, mutilated, falsified, or failed to keep or preserve any recorded information,
including books, documents, records, and papers, from which the debtor’s financial condition or
business transactions might be ascertained, unless such act or failure {fo act was justified under all
of the circumstances of the case.”
17. Debtor is unable to produce any recorded information to dacument business transactions

ot debtor’s financial condition,

 

 
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SECOND CLAIM FOR RELIEF
(Objection to Discharge — Pursuant to 11 U.S.C. §727(4)(A))
18. Plaintiff adopts and hereby incorporates by reference, and alleges herein all of the —
allegations set forth in paragraphs 1 through 17, inclusive, as if set forth individually in the first
claim for relief,
19. Pursuant to 11 U.S.C. §727(4){A) the Court shall grant a discharge unless “the debtor ...
in connection with the case— made a false oath or account.”
20, Debtor has made a false oath in connection with this case. Specifically, debtor testified
previously that it was a sole member manager entity, Debtor has testified under oath in these
proceedings that it is a dual member manager entity.
THIRD CLAIM FOR RELIEF
(Nondischargeability against the Debtor AdvantHdge Insurance Group, LLC ~ Pursuant to 11
U.S.C, §523(a)(2))
21. Plaintiff adopts and hereby incorporates by reference, and alleges herein all of the
allegations set forth in paragraphs 1 through 20, inclusive, as if set forth individually in the first
claim for relief.
22. Pursuant to U.S.C, §523(a)(Q2) money obtained by false pretenses, a false representation,
or actual fraud is not dischargeable.
23. Command alleges that AdvantEdge Insurance Group, LLC ef. ai. falsely represented the
amount of premium owed to Command Center, Inc, and retained the excess funds,
24, These actions occurred between May 2006 through June 2008, in the pattern and on or

about the dates listed in general allegation number [0 and 11.

 

 
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25, These monies and transactions are the subject of Command Center, Inc.'s claims for
relief in the Civil Action for fraud, affirmative fraud, and civil theft.
26. Mr, Anderson was deposed three times, twice in his personal capacity (at his request his
deposition was divided over two days), and once as the 30(b)(6) representative for AdvantEdge.
During these depositions, the subject of fees and commissions were discussed.
27. As the 30(b)(6) representative for AdvantEdge, Mr. Anderson testified that he had a very
hard time understanding the distinction between himself and Advantidge. (Ex. 4, Keith
Anderson testifying, p. 28, H. 10-17), Mr. Anderson then testified that AdvantEdge was his
vehicle between Command Center and Worldwide for the transfer of funds. Ex. 4, Keith
Anderson testifying, p. 31, ll. 10-22),
Testifying in his individual capacity Mr, Anderson explained that:
“It was decided that if I could help them [Command] with the placements, then
Worldwide would share revenues with, that that’s how I would be compensated and so |
was needed by them to do that so that I could be compensated. Otherwise I would have

asked for fees directly from them,”
(Ex. 5, p, 15-16, Il. 16-4),

QO (By Ms. Cleary) Okay. You negotiated the agreement with Worldwide;
is that correct’?

A I did.

Q Did you send everything, all of the money that was sent to AdvantEdge, to
Worldwide?

A I would have sent what I was invoiced.

(ix, 6, p. 65, il, 5-7),

The bank records of AdvantEdge show that it invoiced Command Center more than it was
invoiced by Worldwide and, then, sent to Worldwide only what it was invoiced.

28. The evidence listed above shows that AdvantEdge participated in obtaining money by
false pretenses, false representation, or actual fraud.

 

 
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FOURTH CLAIM FOR RELIEF
(Nondischargeability against the Debtor AdvantEdge Insurance Group, LLC — Pursuant to 11
U.S.C, §523(a)(4))
29, Plaintiff adopts and hereby incorporates by reference, and alleges herein all of the
allegations set forth in paragraphs 1 through 28, inclusive, as if set forth individually in the first
claim for relief,
30. Pursuant to U.S.C, §523(a)(4) debts based on fraud or defalcation while acting in a
fiduciary capacity, embezzlement, or larceny;
31, AdvantEdge Insurance Group, LLC ef. al. were acting in a fiduciary capacity in its
dealings with Command.
32. The fiduciary relationship is established pursuant to C.R.S. § 10-2-704 et seg. which
provides that an agent is deemed a fiduciary with regard to premiums and the return of excess
premium to the insured,
33. The fiduciary relationship is further established by Kaercher v. Sater which holds that a
long standing relationship of entrustment creates a fiduciary duty, Kaercher v. Sater, et al, 155
P.3d 437, 442 (Colo, App. 2006) (citations omitted).
34. The actions that violated AdvantEdge’s fiduciary duty to Command occurred between
May 2006 through June 2008, in the pattern and on or about the dates listed in general allegation
number 3 and 14.
35. AdvantEdge specifically, retained excess premium through fraud thereby commilting
embezzlement and larceny.
36.  AdvantEdge failed to properly shop policies, while making it appear that policies were
shopped, causing Command to pay higher premiums to AIG, in order for it to illegally receive

commissions.

 

 
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37. Based on the above allegations Command believes that the debt owed to it by
AdvantEdge stems from AdvantEdge’s breaches of fiduciary duty to Command,

FIFTH CLAIM FOR RELIEF

(Nondischargeability against the Debtor AdvantEdge Insurance Group, LLC — Pursuant to 11
U.S.C. §523(a)(6))
38. Plaintiff adopts and hereby incorporates by reference, and alleges herein all of the
allegations set forth in paragraphs 1 through 29, inclusive, as if set forth individually in the first
claim for relief,
39, Pursuant to U.S.C, §523(a)(6) debts based on willful and malicious injury caused by the
debtor to another entity or to the property of another entity are non-dischargeable;
40,  AdvantEdge Insurance Group, LLC willfully and maliciously retained Command’s funds
with the intent to permanently deprive Command of those funds,
41. Advant:dge committed these acts by overcharging the amount of premiums due and
retaining the excess funds as outlined in allegations numbers 10 and 11,
42, Because AdvantEdge participated in willful and malicious injury to Command and its
property these debts are non-dischargeable.
PRAYER FOR RELIEF
Wherefore, Plaintiff requests judgment against the Debtor and Defendant AdvantEdge Insurance
Group, LLC as follows:
l, On its first claim for relief. Command requests that AdvantEdge’s debt owed to
Command not be subject to discharge,
2. On its second claim for relief, Command requests that AdvantEdge’s debt owed to

Command not be subject to discharge.

 

 
 

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3. On its third claim for relief, for judgment against the Debtor and Defendant AdvantEdge
Insurance Group, LLC, determining that the debt is owed by the Debtor to Plaintiff and is non-
dischargeable in its bank«uptey case and judgment according to proof,

4, On its fourth claim for relief, for judgment against Debtor and Defendant AdvantEdge
Insurance Group, LLC, determining that the debt is owed by the Debtor to Plaintiff and is non-
dischargeable in its bankruptcy case and judgment according to proof,

5, On its fifth claim for relief, for judgment against Debtor and Defendant AdvantEdge
Insurance Group, LLC, determining that the debt is owed by the Debtor to Plaintiff and is non-
dischargeable in its bankruptcy case and judgment according to proof.

6, That Plaintiff be awarded its costs of suit incurred herein and for such other and further

telief as this Court-deems proper.

Dated this 2nd day of April, 2013.

RITSEMA & LYON, P.C,

Heather S, Cleary, Fsq.F39784

Thomas L, Kanan, Esq. #10558

999 18" Street, Suite 3100

Phone: 303.293.3100

Fax; 303.297,2337

E-mail; heather.cleary@ritsema-lyon.com;
tom, kanan@ritsema-lyon.com
Attorneys tor Detendant/Third-Party

 

 

 
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DISTRICT COURT, CITY AND COUNTY OF DENVER CO Denver County District Court 2nd [D
2 AT Filing Date: Jul 26 2010 6:07PM MDT

STATE OF COLORADO Filing ID: "32336026

1437 Bannock Street, Room 256 Review Clerk: Rhonda McDenald

Denver, Colorado 80202

 

Plaintiff; © ADVANTEDGE INSURANCE GROUP,
LLC,

v.
Defendant!) COMMAND CENTER, INC,

Vv.

Third Party Defendant: MORETON INSURANCE OF
A COURT USE ONLY A

 

COLORADO LLC

Attorney for Defendant:

lan Ray Mitchell (#34887) Case No.; 2010CV4135
Thomas Pollart & Miller LLC

5600 South Quebec Street, Suite 220-A Division: 2

Greenwood Village, CO 80111
Telephone: (720) 488-9586
Facsimile: (720) 488-9587

Email: imitchell(@tpm-law.com

 

 

AMENDED ANSWER TO COMPLAINT
COUNTERCLAIMS AND
THIRD PARTY COMPLAINT AGAINST MORETON & COMPANY

 

 

 

Defendant, by and through its counsel, THOMAS POLLART & MILLER, LLC, hereby
submits its Amended Answer to Plaintiffs Complaint, Counterclaims against AdvantEdge
Insurance Group and Third Party Complaint against Moreton & Company and states as follows:

Defendant denies each and every item and allegation contained in Plaintiff's Complaint,
unless expressly admitted herein.

l. Defendant is without sufficient knowledge to form a belief as to the truth of the
allegations and therefore deny the allegations contained in paragraph 1| of Plaintiff’s Complaint.

2. Defendant admits the allegations contained in paragraph 2 of Plaintiff's
Complaint.

EXHIBIT

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3. Defendant is without sufficient knowledge to form a belief as to the truth of the
allegations and therefore denies the allegations contained in paragraph 3 of Plaintiff's Complaint.
4, Defendant is without sufficient knowledge to form a belief as to the truth of the

allegations and therefore denies the allegations contained in paragraph 4 of Plaintiff's Complaint.

5. Defendant is without sufficient knowledge to form a belief as to the truth of the
allegations and therefore denies the allegations contained in paragraph 5 of Plaintiff's Complaint.

6. Defendant is without sufficient knowledge to form a belief as to the truth of the
allegations and therefore denies the allegations contained in paragraph 6 of Plaintiff's Complaint.

7. Defendant is without sufficient knowledge to form a belief as to the truth of the
allegations and therefore denies the allegations contained in paragraph 7 of Plaintiffs Complaint.

8. Defendant is without sufficient knowledge to form a belief as to the truth of the
allegations and therefore denies the allegations contained in paragraph 8 of Plaintiff's Complaint.

9. Defendant is without sufficient knowledge to form a belief as to the truth of the
allegations and therefore denies the allegations contained in paragraph 9 of Plaintiff's Complaint.

10. Defendant is without sufficient knowledge to form a belief as to the truth of the
allegations and therefore denies the allegations contained in paragraph 10 of Plaintiff's
Complaint.

ll. Defendant is without sufficient knowledge to form a belief as to the truth of the
allegations and therefore denies the aliegations contained in paragraph II of Plaintiffs
Complaint.

12. Defendant admits to sending a June 16, 2008 letter. Defendant 1s without
sufficient knowledge to form a belief as to the truth of the remaining allegations and therefore
denies the remaining allegations contained in paragraph 12 of Plaintiff's Complaint.

13. Defendant is without sufficient knowledge to form a belief as to the truth of the
allegations and therefore denies the allegations contained in paragraph 13 of Plaintiff's
Complaint.

14. Defendant is without sufficient knowledge to form a belief as to the truth of the
allegations and therefore denies the allegations contained in paragraph 14 of Plaintiff's

Complaint.

15. Defendant is without sufficient knowledge to form a belief as to the truth of the
allegations and therefore denies the allegations contained in paragraph 15 of Plaintiffs
Compiaint.

 
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16. Defendant is without sufficient knowledge to form a belief as io the truth of the
allegations and therefore denies the allegations contained in paragraph 16 of Plaintiffs
Complaint.

17. Defendant is without sufficient knowledge to form a belief as to the truth of the
allegations and therefore denies the allegations contained in paragraph 17 of Plaintiff's
Complaint.

18. Defendant is without sufficient knowledge to form a belief as to the truth of the
allegations and therefore denies the allegations contained in paragraph 18 of Plaintiff's
Complaint.

19. Defendant is without sufficient knowledge to form a belief as to the truth of the
allegations and therefore denies the allegations contained in paragraph 19 of Plaintiff's
Complaint.

20, Defendant admits the allegations contained in paragraph 20 of Plaintiffs
Complaint.

21. Defendant admits the allegations contained in paragraph 21 of Plaintiffs
Complaint.
22. Defendant incorporates herein by reference each of its responses set forth above.

23. Defendant is without sufficient knowledge to form a belief as to the truth of the
allegations and therefore denies the allegations contained in paragraph 23 of Plaintiff's
Complaint.

24. Defendant is without sufficient knowledge to form a belief as to the truth of the
allegations and therefore denies the allegations contained in paragraph 24 of Plaintiffs

Complaint.

25, Defendant is without sufficient knowledge to form a belief as to the truth of the
allegations and therefore denies the allegations contained in paragraph 25 of Plaintiffs
Complaint.

26. Defendant is without sufficient knowledge to form a belief as to the truth of the
allegations and therefore denies the allegations contained in paragraph 26 of Plaintiff's
Complaint.

27. Defendant incorporates herein by reference each of its responses set forth above.

 
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28, Defendant is without sufficient knowledge to form a belief as to the truth of the
allegations and therefore denies the allegations contained in paragraph 28 of Plaintiffs
Complaint.

29. Defendant is without sufficient knowledge to form a belief as to the truth of the
allegations and therefore denies the allegations contained in paragraph 29 of Plaintiff's
Complaint.

30. Defendant denies the allegations contained in paragraph 30 of Plaintiffs
Complaint.
31. Defendant incorporates herein by reference each of its responses set forth above.

32, Defendant is without sufficient knowledge to form a belief as to the truth of the
allegations and therefore denies the allegations contained in paragraph 32 of Plaintiff's
Complaint.

33. Defendant denies the allegations contained in paragraph 33 of Plaintiffs
Complaint.

34. Defendant denies the allegations contained in paragraph 34 of Plaintiffs
Complaint.

35. Defendant incorporates herein by reference each of its responses set forth above.

36. Defendant is without sufficient knowledge to form a belief as to the truth of the
allegations and therefore denies the allegations contained in paragraph 36 of Plaintiff's
Complaint.

37. Defendant is without sufficient knowledge to form a belief as to the truth of the
allegations and therefore denies the allegations contained in paragraph 37 of Plaintiff's
Complaint.

38. Defendant is without sufficient knowledge to form a belief as to the truth of the
allegations and therefore denies the allegations contained in paragraph 38 of Plaintiff's
Complaint.

39. Defendant incorporates herein by reference each of its responses set forth above.

40. Defendant is without sufficient knowledge to form a belief as to the truth of the
allegations and therefore denies the allegations contained in paragraph 40 of Plaintiff's
Complaint.

 
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41. Defendant is without sufficient knowledge to form a belief as to the truth of the
allegations and therefore denies the allegations contained in paragraph 41 of Plaintiff's
Complaint.

42. Defendant is without sufficient knowledge to form a belief as to the truth of the
allegations and therefore denies the allegations contained in paragraph 42 of Plaintiff's
Complaint.

43. Defendant admits to sending a June 16, 2008 letter. Defendant is without
sufficient knowledge to form a belief as to the truth of the remaining allegations and therefore
denies the remaining allegations contained in paragraph 43 of Plaintiff's Complaint.

44, Defendant is without sufficient knowledge to form a belief as to the truth of the
allegations and therefore denies the allegations contained in paragraph 44 of Plaintiff's
Complaint.

45, Defendant is without sufficient knowledge to form a belief as to the truth of the
allegations and therefore denies the allegations contained in paragraph 45 of Plaintiff's
Complaint.

Defendant denies any and all allegations asserted by Plaintiffin its Prayer for Relief.

 

AFFIRMATIVE DEFENSES
l. The Complaint fails to state a claim wpon which relief may be granted.
2, Plaintiff may have failed to mitigate its injuries, damages and losses.
3. Plaintiff's claims are barred, in whole, or in part, by one or more equitable

doctrines including, but not limited to, accord, satisfaction, waiver, estoppel and laches.

4, Plaintiff's damages, if any, are limited as defined by all applicable constitutional
and statutory provisions, and applicable case law.

5, Plaintiff's right to relief, if any, is barred by its own failure to act in good faith
and/or Plaintiff has committed a material breach thereof.

6. One or more of Plaintiffs claims are frivolous, groundless and not supported by
substantial justification.

7, Plaintiff's claims are barred by the doctrines of acceptance and ratification.

8, Plaintiffs claims are barred by Plaintiffs own comparative or contributory
negligence, fault, bad faith, misconduct, wrongful acts or improper conduct.

 
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9. The damages recoverable, if any, against Defendant are subject to reduction for
payment from collateral sources pursuant to C.R.S, § 13-21-TEL6.
10. The damages recoverable herein are subject to all relevant statutory limitations,

including, but not limited to, those set forth in C.R.S. § 13-21-101, et seq., particularly C.R.S. §
13-21-102.5.

Ti. Plaintiffs claims may be barred by the applicable Statute of Limitations.
i2. — Plaintiff’s claims may be barred or reduced by C.R.S. 13-21-1115
13. The complaint may have failed to name an indispensable party.

14, ‘Plaintiffs claims, in whole or in part, may be barred by some or all of the
affirmative defenses contemplated by the rules, applicable case law, statutes or other applicable
authority. To the extent plaintiffs clatms may be barred by one or more of said affirmative
defenses, not specifically set out above, and may be undetermined until Defendant has had the
opportunity to conduct discovery. Defendant incorperates all said affirmative defenses as if fully
set forth herein.

15. Defendant reserves the right to raise additional affirmative defenses as such
defenses become apparent through the course of discovery.

COUNTER CLAIMS AND THIRD PARTY COMPLAINT

 

1. Defendant Command Center is a Corporation incorporated under the laws of
Washington State with a principal place of business of 3773 W 5th Ave, Post Falls, [D 83854.

2. Plaintiff AdvantEdge Insurance Group, LLC, (AdvantEdge) is a Colorado limited
liability company with its principal place of business at 9777 Mt. Pyramid Ct., Suite 200,
Englewood, CO 80112.

3. Upon information and belief Third Party Defendant Moreton Insurance of
Colorado, LLC, dba Moreton & Company (‘“Moretone & Company), is a Colorado limited
liability company with its principal place of business at 4600 8. Ulster Street, Suite 380, Denver,
CO 80237,

4, Upon information and belief Keith Anderson and Terry Evanson were employed
at, and working for, Defendant AdvantEdge and Third Party Defendant Moreton and Company
when they under took to act as insurance producers to obtain insurance policy for Defendant
Command Center, Inc.

5. Venue is proper pursuant to C.R.C.P. 98(c).

 
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General Allegations

6. Upon information and belief, Plaintiff AdvantEdge Insurance Group, L.L.C., and
Third Party Defendant Moreton & Company were the insurance producers for Command Center,
Inc. from 2006 to 2008. At relevant times, Plaintiff and Third Party Defendant acted as
Command Center, Inc.’s agent and were to procure insurance policies, including, but not limited
to going to the market place to obtain quote information and information on premiums, on behalf
of Command Center, Inc. through the Adanti:dge’s and Moreton’s mutual employees of Keith
Anderson and Terry Evanson.

7, Upon information and belief Plaintiff AdvantEdge and Third Party Defendant
Moreton & Company were to provide assistance in obtaining multiple policy lines of insurance
at reasonable rates and terms as an insurance retailer/producer.

8. Upon information and belief a special relationship as defined under Colorado law
for Insurance Producers and Insureds existed between AdvantEdge, Moreton & Company and
Command Center, Inc.

9 Upon information and belief, AdvantEdge and Moreton & Company failed to
perform its due diligence and/or perform its duties in procuring said insurance in a reasonable
manner, or within the appropriate standard of care, including but not limited to, committing
errors and omissions in submissions to World Wide Specialty Programs, Inc.

10. Upon information and belief AdvantEdge and Moreton & Company worked with
World Wide Specialty Programs, Inc. in an effort to have World Wide Specialty Programs, Inc.
underwrite the policies for AIG.

11. Upon information and belief AdvantEdge and Moreton & Company failed to meet
the standard of care for insurance producers and failed to provide necessary and essential
documentation to World Wide Specialty Programs, Inc. during the underwriting process. This
failure on the part of AdvantEdge and Moreton & Company through their agents Terry Evanson
and Keith Anderson resulted in outrageously high premiums and collateral expenditures to be
charged to Command Center, Inc.

First Claim for Relief
(Breach of Fiduciary Duty)

12. Defendant Command Center, Inc. hereby incorporates the allegations contained in
Paragraphs 1 through 11 of this Counter Claim and Third Party Complaint as if fully set forth
herein.

13.  AdvantEdge and Moreton & Company, through their mutual employees Terry
Evanson and Keith Anderson, owed Command Center Inc. a fiduciary duty in performing as
insurance producers and in obtaining reasonable insurance polices from 2006 through 2009.

 
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14, AdvantEdge and Moreton & Company breached their fiduciary duty by failing to
adhere to the standard of care in the industry, by failing to provide proper documentation on
request for underwriting and by failing to obtain accurate information on quotes and premium
information.

15. AdvantEdge and Moreton & Company’s breach, through its agents Evanson and
Anderson, caused Command Center, Inc. to pay unreasonably high premiums from 2006-2008
and other collateral expenditures, including but not limited to, replacement costs and fees,
penalties for early cancellations, and other additional costs.

Second Claim for Relief
(Breach of Implied Contract)

16. Defendant Command Center, Inc. hereby incorporates the allegations contained in
Paragraphs 1 through 15 of this Counter Claim and Third Party Complaint as if fully set forth
herein.

17. An implied in fact contract existed between Command Center, Inc., AdvantEdge
and Moreton & Company, in which AdvantEdge and Moreton were to obtain quotes and
information on premiums on insurance policies for Command Center, Inc.

18. AdvantEdge and Moreton & Company failed to perform, which resulted damages
in the form of costs and expenditures related to their failure to act within the standard of care and
failed to property review the market for said policies from 2006 to 2008, obtain reasonable and
competitive information on policies and provide the necessary documentation to other parties in
order to obtain appropriate coverage’s and appropriate premium and other financing information
related to the cost of said policies.

19. AdvantEdge and Moreton & Company’s breach, through its agents Evanson and
Anderson, caused Command Center, Inc. to pay unreasonably high premiums from 2006-2008
and other collateral expenditures, including but not limited to, replacement costs and fees,
penalties for early cancellations, and other additional costs.

Third Claim for Relief
(Negligence)
20. Defendant Command Center, Inc. hereby incorporates the allegations contained in
Paragraphs 1 through 19 of this Counter Claim and Third Party Complaint as if fully set forth

herein,

2. AdvantEdge and Moreton & Co, through their employees Terry Evanson and
Keith Anderson, were negligent in failing to obtain accurate information on quotes and
premiums for the insurance polices while acting as an insurance producer with respect to
Command Center, Inc. from 2006 to 2008.

 

 
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22, AdvantEdge and Moreton & Co. breached their duty to Command Center, Inc.
and failed ta act within the standard of care and failed te properly review the market for said
policies from 2006 to 2008, obtain reasonable and competitive information on policies and
provide the necessary documentation to other parties in order to obtain appropriate coverage’s
and appropriate premium and other financing information related to the cost of said policies.

23. AdvantEdge and Moreton & Company’s breach, through its agents Evanson and
Anderson, caused Command Center, inc. to pay unreasonably high premiums from 2006-2008
and other collateral expenditures, including but not limited to, replacement costs and fees,
penalties for early cancellations, and other additional costs.

Fourth Claim for Relief
(Unjust Enrichment)
24. Defendant Command Center, Inc, hereby incorporates the allegations contained in
Paragraphs 1 through 23 of this Counter Claim and Third Party Complaint as if fully set forth

herein,

25. Upon information and belief, AdvantEdge and Moreton & Company collected
commissions based on overly high priced premiums charged to Command Center, Inc. from
2006 to 2008.

26. Upon information and belief, the commissions received by AdvantEdge and
Moreton & Company were based on overly high premiums due to AdvantEdge and Moreton &
Company’s failure to act within the standard of care and failure to properly review the market for
said policies from 2006 to 2008, obtain reasonable and competitive information on policies and
provide the necessary documentation to other parties in order to obtain appropriate coverage’s
and appropriate premium and other financing information related to the cost of said policies.

27, Additionally, AdvantEdge and Moreton & Company, collected certain amounts
for commission based on the paid premiums including $37,059.13 for the policies obtained in
2008 for Command Center, Inc. Because those policies were cancelled by Command Center,
Inc., the unearned commission were to be returned and refunded to Command Center, Inc.

28. Upon information and belief, AdvantEdge and/or Moreton & Company have
failed to refund the commission amount which is to be returned to Command Center, Inc.

29. Upon information and belief, Command Center, Inc., significantly overpaid
premiums and other costs for policies obtained on behalf of Command Center, Inc. by
AdvantEdge and Moreton & Company from 2006 to 2008. AdvantEdge and Moreton &
Company collected commissions based on the overly priced premiums and costs due to their
failure to act within the standard of care and failure to properly review the market for said
policies from 2006 to 2008, obtain reasonable and competitive information on policies and

 
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provide the necessary documentation to other parties in order to obtain appropriate coverage’s
and appropriate premium and other financing information.

30. The commissions collected therefore, unjustly enriched AdvantEdge and Moreton
& Company, due to their failures. Thus, AdvantEdge and Moreton & Company were unjustly
entiched a by correcting commission ¢ on n overly high priced in insurance “policies and those

DEFENDANT COMMAND CENTER, INC,
EREBY DEMANDS A TRIAL TO A JURY.

WHEREFORE, Command Center, Inc prays that judgment be entered in its favor and against
AdvantEdge and Moreton & Company, and that Command Center, Inc, be awarded its damages,
costs, attorneys’ fees, and such other and further relief as the Court may deem proper

Respectfully submitted this 26" day of July, 2010.
THOMAS POLLART & MILLER, LLC

The original signature of lan Ray Mitchell ion on fi le
al Thomas Pollart & Miller, ELC I.

To i Ab. laf fad a
lan Ray inci?
Attorney for Defendant

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CERTIFICATE OF SERVICE

I hereby certify that on the 26" day of July, 2010, I served the foregoing ANSWER TO
COMPLAINT via LexisNexis File & Serve to the following:

Tamas Viski-Hanka, Esq.
5018. Cherry Street, Suite 1060
Denver, CO 86246

The original signature of Kini’ Brown is on file
at Thomas Pollart & MillérglLC.

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Regs

Jan Mitcheil ?

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CO Denver County District Court Ind JD

 

DISTRICT COURT, CITY AND COUNTY OF DENVER Filing 1: 34908720
STATE OF COLORADO Review Clerk: Ty Khiem

1437 Bannock Street, Room 256
Denver, Colorada 80202

Plaintiff: ADVANTEDGE INSURANCE GROUP, L.L.C,

 

Joined Party: MORETON INSURANCE OF COLORADO,
LLC dba MORETON & COMPANY

Vv.

Defendant: COMMAND CENTER, INC. 4 COURT USE ONLY 4

 

Attorneys for Defendant:

Ian Ray Mitchell (#34887) Case No.: 2010CV4135
Thomas Pollart & Miller LLC
5600 South Quebec Street, Suite 220-A Division: 2

Greenwood Village, CO 80111
Telephone: (720) 488-9586
Facsimile: (720) 488-9587

Email: tmitchell@tpm-law.com

AMENDED ANSWER TO COMPLAINT AND COUNTERCLAIMS

 

 

 

 

 

Defendant, by and through its counsel, THOMAS POLLART & MILLER LLC, hereby
submits its Amended Answer to Plaintiff's Complaint and counterclaims against AdvantEdge
Insurance Group, L.L.C. and Moreton & Company, and states as follows:

Defendant denies each and every item and allegation contained in Plaintiff's Complaint,
unless expressly admitted herein.

l. Defendant is without sufficient knowledge to form a belief as to the truth of the
allegations and therefore deny the allegations contained in paragraph 1 of Plaintiff's Complaint.

2. Defendant admits the allegations contained in paragraph 2 of Plaintiffs
Complaint.

3. Defendant is without sufficient knowledge to form a belief as to the truth of the

allegations and therefore denies the allegations contained in paragraph 3 of Plaintiff's Complaint.

4, Defendant is without sufficient knowledge to form a belief as to the truth of the
allegations and therefore denies the allegations contained in paragraph 4 of Plaintiff's Complaint.

EXHIBIT
D

E Case No. 13-19032 MER

 

 
 

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5. Defendant is without sufficient knowledge to form a belief as to the truth of the
allegations and therefore denies the allegations contained in paragraph 5 of Plaintiff's Complaint.

6. Defendant is without sufficient knowledge to form a belief as to the truth of the
allegations and therefore denies the allegations contained in paragraph 6 of Plaintiff's Complaint.

7. Defendant is without sufficient knowledge to form a belief as to the truth of the
allegations and therefore denies the allegations contained in paragraph 7 of Plaintiff's Complaint.

8. Defendant is without sufficient knowledge to form a belief as to the truth of the
allegations and therefore denies the allegations contained in paragraph 8 of Plaintiff's Complaint.

9. Defendant is without sufficient knowledge to form a belief as to the truth of the
allegations and therefore denies the allegations contained in paragraph 9 of Plaintiff's Complaint.

10. Defendant is without sufficient knowledge to form a belief as to the truth of the
allegations and therefore denies the allegations contained in paragraph 10 of Plaintiff's
Complaint.

11. Defendant is without sufficient knowledge to form a belief as to the truth of the
allegations and therefore denies the allegations contained in paragraph 11 of Plaintiff s
Complaint.

12. Defendant admits to sending a June 16, 2008 letter. Defendant is without
sufficient knowledge to form a belief as to the truth of the remaining allegations and therefore
denies the remaining allegations contained in paragraph 12 of Plaintiff s Complaint.

13. Defendant is without sufficient knowledge to form a belief as to the truth of the
allegations and therefore denies the allegations contained in paragraph 13 of Plaintiffs

Complaint.

14. Defendant is without sufficient knowledge to form a belief as to the truth of the
allegations and therefore denies the allegations contained in paragraph 14 of Plaintifl’s

Complaint.

15. Defendant is without sufficient knowledge to form a belief as to the truth of the
allegations and therefore denies the allegations contained in paragraph 15 of Plaintiff's
Complaint.

16. Defendant is without sufficient knowledge to form a belief as to the truth of the
allegations and therefore denies the allegations contained in paragraph 16 of Plaintiff's
Complaint.

 

 

 
 

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Defendant is without sufficient knowledge to form a belief as to the truth of the
and therefore denies the allegations contained in paragraph 17 of Plaintiff's

Defendant is without sufficient knowledge to form a belief as to the truth of the

and therefore denies the allegations contained in paragraph 18 of Plaintiff's

Defendant is without sufficient knowledge to form a belief as to the truth of the
and therefore denies the allegations contained in paragraph 19 of Plaintiff's

Defendant admits the allegations contained in paragraph 20 of Plaintiff's
Defendant admits the allegations contained in paragraph 21 of Plaintiff's
Defendant incorporates herein by reference each of its responses set forth above..

Defendant is without sufficient knowledge to form a belief as to the truth of the

and therefore denies the allegations contained in paragraph 23 of Plaintiff's

Defendant is without sufficient knowledge to form a belief as to the truth of the
and therefore denies the allegations contained in paragraph 24 of Plaintiffs

Defendant is without sufficient knowledge to form a belief as to the truth of the
and therefore denies the allegations contained in paragraph 25 of Plaintiff's

Defendant is without sufficient knowledge to form a belief as to the truth of the
and therefore denies the allegations contained in paragraph 26 of Plaintiff's
Defendant incorporates herein by reference each of its responses set forth above.

Defendant is without sufficient knowledge to form a belief as to the truth of the

and therefore denies the allegations contained in paragraph 28 of Plaintiff's

Defendant is without sufficient knowledge to form a belief as to the truth of the
and therefore denies the allegations contained in paragraph 29 of Plaintiffs

 
 

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Defendant denies the allegations contained in paragraph 30 of Plaintiff's
Defendant incorporates herein by reference each of its responses set forth above.
Defendant is without sufficient knowledge to form a belief as to the truth of the
and therefore denies the allegations contained in paragraph 32 of Plaintiff's
Defendant denies the allegations contained in paragraph 33 of Plaintiff's

Defendant denies the allegations contained in paragraph 34 of Plaintiff's

Defendant incorporates herein by reference each of its responses set forth above.
Defendant is without sufficient knowledge to form a belief as to the truth of the

and therefore denies the allegations contained in paragraph 36 of Plaintiff's

Defendant is without sufficient knowledge to form a belief as to the truth of the
and therefore denies the allegations contained in paragraph 37 of Plaintiff's

Defendant is without sufficient knowledge to form a belief as to the truth of the
and therefore denies the allegations contained in paragraph 38 of Plaintiff's
Defendant incorporates herein by reference each of its responses set forth above.

Defendant is without sufficient knowledge to form a belief as to the truth of the

and therefore denies the allegations contained in paragraph 40 of Plaintiff's

Defendant is without sufficient knowledge to form a belief as to the truth of the
and therefore denies the allegations contained in paragraph 41 of Plaintiffs

Defendant is without sufficient knowledge to form a belief as to the truth of the
and therefore denies the allegations contained in paragraph 42 of Piaintiff’s

 

 
 

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43, Defendant admits to sending a June 16, 2008 letter. Defendant is without
sufficient knowledge to form a belief as to the truth of the remaining allegations and therefore
denies the remaining allegations contained in paragraph 43 of Plaintiff's Complaint.

44. Defendant is without sufficient knowledge to form a belief as to the truth of the
allegations and therefore denies the allegations contained in paragraph 44 of Plaintiff's
Complaint.

45. Defendant is without sufficient knowledge to form a belief as to the truth of the
allegations and therefore denies the allegations contained in paragraph 45 of Plaintiffs

Complaint.

Defendant denies any and all allegations asserted by Plaintiff in its Prayer for Relief.

 

AFFIRMATIVE DEFENSES
l. The Complaint fails to state a claim upon which relief may be granted.
2. Plaintiff may have failed to mitigate its injuries, damages and losses.
3. Plaintiff's claims are barred, in whole, or in part, by one or more equitable

doctrines including, but not limited to, accord, satisfaction, waiver, estoppel and laches.

4, Plaintiff's damages, if any, are limited as defined by all applicable constitutional
and statutory provisions, and applicable case law.

5. Plaintiff's right to relief, if any, is barred by its own failure to act in good faith
and/or Plaintiff has committed a material breach thereof.

6. One or more of Plaintiffs claims are frivolous, groundless and not supported by
substantial justification.

7, Plaintiff's claims are barred by the doctrines of acceptance and ratification.

8, Plaintiff's claims are barred by Plaintiffs own comparative or contributory
negligence, fault, bad faith, misconduct, wrongful acts or improper conduct.

9, The damages recoverable, if any, against Defendant are subject to reduction for
payment from collateral sources pursuant to C.R.S. § 13-21-111.6,

10. The damages recoverable herein are subject to all relevant statutory limitations,
including, but not limited to, those set forth in C.R.S. § 13-21-101, et seq., particularly C.R.S. §
13-21-102.5.

11. Plaintiff's claims may be barred by the applicable Statute of Limitations.

 
 

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12. __ Plaintiff’s claims may be barred or reduced by C.R.S. 13-21-111.5
13. The complaint may have failed to name an indispensable party.

14. Plaintiff's claims, in whole or in part, may be barred by some or all of the
affirmative defenses contemplated by the rules, applicable case law, statutes or other applicable
authority. To the extent plaintiff's claims may be barred by one or more of said affirmative
defenses, not specifically set out above, and may be undetermined until Defendant has had the
opportunity to conduct discovery. Defendant incorporates all said affirmative defenses as if fully
set forth herein.

15. Defendant reserves the right to raise additional affirmative defenses as such
defenses become apparent through the course of discovery.

COUNTERCLAIMS

1. Defendant Command Center, Inc. (Command Center) is a Corporation
incorporated under the laws of Washington State with a principal place of business of 3773 W
5th Ave, Post Falls, ID 83854,

2. Plaintiff AdvantEdge Insurance Group, LLC, (AdvantEdge) is a Colorado limited
liability company with its principal place of business at 9777 Mt. Pyramid Ct., Suite 200,
Englewood, CO 80112.

3. Upon information and belief, Moreton Insurance of Colorado, LLC dba Moreton
& Company (“Moreton & Company”), is a Colorado limited liability company with its principal
place of business at 4600 S. Ulster Street, Suite 380, Denver, CO 80237.

4, Upon information and belief, Keith Anderson and Terry Evanson were employed
at and working for AdvantEdge and Moreton & Company when they undertook to act as
insurance producers to obtain insurance policies for Command Center.

5. Venue is proper pursuant to C.R.C.P. 98(c).
General Allegations

6. Upon information and belief, AdvantEdge and Moreton & Company were the
insurance producers for Command Center from 2006 to 2008. At relevant times, Advantidge
and Moreton & Company acted as Command Center’s agent and were to procure insurance
policies, including, but not limited to, going to the market place to obtain quote information and
information on premiums on behalf of Command Center through AdvantEdge’s and Moreton &
Company’s mutual employees of Keith Anderson and Terry Evanson.

 
 

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7. Upon information and belief, AdvantEdge and Moreton & Company were to
provide assistance in obtaining multiple policy lines of insurance at reasonable rates and terms as
an insurance retailer/producer.

8. Upon information and belief, a special relationship as defined under Colorado law
for Insurance Producers and Insureds existed between AdvantEdge, Moreton & Company and
Command Center.

9. Upon information and belief, AdvantEdge and Moreton & Company failed to
perform its due diligence and/or perform its duties in procuring said insurance in a reasonable
manner, or within the appropriate standard of care, including but not limited to, committing
errors and omissions in submissions to World Wide Specialty Programs, Inc.

10. Upon information and belief, AdvantEdge and Moreton & Company worked with
World Wide Specialty Programs, Inc. in an effort to have World Wide Specialty Programs, Inc.
underwrite the policies for AIG.

11. Upon information and belief, AdvantEdge and Moreton & Company failed to
meet the standard of care for insurance producers and failed to provide necessary and essential
documentation to World Wide Specialty Programs, Inc. during the underwriting process. This
failure on the part of AdvantEdge and Moreton & Company through their agents, Terry Evanson
and Keith Anderson, resulted in outrageously high premiums and collateral expenditures to be
charged to Command Center.

First Claim for Relief
(Breach of Fiduciary Duty)

12, Command Center hereby incorporates the allegations contained in Paragraphs |
through 11 of this Counterclaim as if fully set forth herein.

13. AdvantEdge and Moreton & Company, through their mutual employees Terry
Evanson and Keith Anderson, owed Command Center a fiduciary duty in performing as
insurance producers and in obtaining reasonable insurance polices from 2006 through 2009,

14. AdvantEdge and Moreton & Company breached their fiduciary duty by failing to
adhere to the standard of care in the industry, by failing to provide proper documentation on
request for underwriting, and by failing to obtain accurate information on quotes and premium

information.

15. AdvantEdge and Moreton & Company’s breach, through its agents Evanson and
Anderson, caused Command Center to pay unreasonably high premiums from 2006-2008 and
other collateral expenditures, including, but not limited to, replacement costs and fees, penalties
for early cancellations, and other additional costs.

 
 

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Second Claim for Relief
(Breach of Implied Contract)

16. | Command Center hereby incorporates the allegations contained in Paragraphs 1
through 15 of this Counterclaim as if fully set forth herein.

17. An implied in fact contract existed between Command Center, Inc., AdvantEdge
and Moreton & Company, in which AdvantEdge and Moreton & Company were to obtain quotes
and information on premiums on insurance policies for Command Center, Inc.

18. AdvantEdge and Moreton & Company failed to perform, which resulted damages
in the form of costs and expenditures related to their failure to act within the standard of care and
failed to properly review the market for said policies from 2006 to 2008, obtain reasonable arid
competitive information on policies and provide the necessary documentation to other parties in
order to obtain appropriate coverage and appropriate premium and other financing information
related to the cost of said policies.

19. AdvantEdge and Moreton & Company’s breach, through its agents Evanson and
Anderson, caused Command Center, Inc. to pay unreasonably high premiums from 2006-2008
and other collateral expenditures, including, but not limited to, replacement costs and fees,
penalties for early cancellations, and other additional costs.

Jhird Claim for Relief
(Negligence)

20. | Command Center hereby incorporates the allegations contained in Paragraphs |
through 19 of this Counterclaim as if fuily set forth herein.

21. AdvantEdge and Moreton & Company, through their employees Terry Evanson
and Keith Anderson, were negligent in failing to obtain accurate information on quotes and
premiums for the insurance polices while acting as an insurance producer with respect to
Command Center, Inc. from 2006 to 2008.

22. AdvantEdge and Moreton & Company breached their duty to Command Center
and failed to act within the standard of care and failed to properly review the market for said
policies from 2006 to 2008, obtain reasonable and competitive information on policies, and
provide the necessary documentation to other parties in order to obtain appropriate coverage and
appropriate premium and other financing information related to the cost of said policies.

23. AdvantEdge and Moreton & Company’s breach, through its agents Evanson and
Anderson, caused Command Center to pay unreasonably high premiums from 2006-2008 and
other collateral expenditures, including, but not limited to, replacement costs and fees, penalties
for early cancellations, and other additional costs.

 
 

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Fourth Claim for Relief
(Unjust Enrichment)

24. Defendant Command Center hereby incorporates the allegations contained in
Paragraphs | through 23 of this Counterclaim as if fully set forth herein.

25. Upon information and belief, AdvantEdge and Moreton & Company collected
commissions based on overly high priced premiums charged to Command Center from 2006 to
2008.

26. Upon information and belief, the commissions received by AdvantEdge and
Moreton & Company were based on overly high premiums due to AdvantEdge and Moreton &
Company’s failure to act within the standard of care and failure to properly review the market for
said policies from 2006 to 2008, obtain reasonable and competitive information on policies, and
provide the necessary documentation to other parties in order to obtain appropriate coverage and
appropriate premium and other financing information related to the cost of said policies.

27. Additionally, AdvantEdge and Moreton & Company collected certain amounts for
commission based on the paid premiums including $37,059.13 for the policies obtained in 2008
for Command Center. Because those policies were cancelled by Command Center, the unearned
commissions were to be returned and refunded to Command Center.

28. Upon information and belief, AdvantEdge and/or Moreton & Company have
failed to refund the commission amount which is to be returned to Command Center.

29. | Upon information and belief, Command Center significantly overpaid premiums
and other costs for policies obtained on behalf of Command Center by AdvantEdge and Moreton
& Company from 2006 to 2008. AdvantEdge and Moreton & Company collected commissions
based on the overly priced premiums and costs due to their failure to act within the standard of
care and failure to properly review the market for said policies from 2006 to 2008, obtain
reasonable and competitive information on policies, and provide the necessary documentation to
other parties in order to obtain appropriate coverage and appropriate premium and other
financing information.

30. The commissions collected, therefore, unjustly enriched AdvantEdge and
Moreton & Company due to their failures. Thus, AdvantEdge and Moreton & Company were
unjustly enriched by collecting commission on overly high priced insurance policies and those
commissions should be reduced or returned to Command Center.

DEFENDANT COMMAND CENTER, INC.
HEREBY DEMANDS A TRIAL TO A JURY.

 
 

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WHEREFORE, Command Center prays that judgment be entered in its favor and against
AdvantEdge and Moreton & Company, and that Command Center be awarded its damages,
costs, attorneys’ fees, and such other and further relief as the Court may deem proper

Respectfully submitted this LY tay of December, 2010.

THOMAS POLLART & MILLER L&C

Te, Call

Tan Ray Mitchel
Attorneys jor Defendant

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DISTRICT COURT, CITY AND COUNTY OF DENVER | finine Date: Jun 92011 9:25PM t2nd J

STATE OF COLGRADO Filing ID: 38069499
1437 Bannock Street, Room 256 Review Clerk: Emran Sufi
Denver, Colorade 80202

Plaintiff? ADVANTEDGE INSURANCE GROUP, L.L.C.

 

 

Joined Party: MORETON INSURANCE OF COLORADO,
LLC dba MORETON & COMPANY
V.

Defendant: COMMAND CENTER, INC. & COURT USE ONLY 4

 

Attorneys for Defendant:

Jan Ray Mitchell (#434887) Case No.: 2010CV4135
Thomas Pollart & Miller LLC
5600 South Quebec Street, Suite 220-A Division: 2

Greenwood Village, CO 80111
Telephone: (720) 488-9586
Facsimile: (720) 488-9587
Email: imitchell@tpm-law.com

 

 

AMENDED ANSWER TO COMPLAINT AND AMENDED COUNTERCLAIMS

 

 

 

Defendant, by and through its counsel, THOMAS POLLART & MILLER LLC, hereby
submits its Amended Answer to Plaintiffs Complaint and counterclaims against AdvantKdge
Insurance Group, L.L.C. and Moreton & Company, and states as follows:

Defendant/Third-Party Plaintiff Command Center, Inc. hereby files its Amended Answer
in response to Plaintiff AdvantEdge, LLC’s Amended Complaint filed on May 25, 2011.
Command Center, Inc. is also asserts and incorporates its Counterclaims. Command Center, Inc.
has filed a contemporaneous Unopposed Motion to Amend its Counterclaims pursuant to
C.R.C.P. Rule 15(c).

Defendant denies each and every item and allegation contained in Plaintiff's Complaint,
unless expressly admitted herein.

I. Defendant is without sufficient knowledge to form a belief as to the truth of the
allegations and therefore deny the allegations contained in paragraph | of Plaintiff's Complaint.

2. Defendant admits the allegations contained in paragraph 2 of Plaintiff's
Complaint.

EXHIBIT

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3, Defendant is without sufficient knowledge to form a belief as to the truth of the
allegations and therefore denies the allegations contained in paragraph 3 of Plaintiff's Complaint.

4, Defendant is without sufficient knowledge to form a belief as to the truth of the
allegations and therefore denies the allegations contained in paragraph 4 of Plaintiff's Complaint.

5. Defendant is without sufficient knowledge to form a belief as to the truth of the
allegations and therefore denies the allegations contained in paragraph 5 of Plaintiffs Complaint.

6, Defendant is without sufficient knowledge to form a belief as to the truth of the
allegations and therefore denies the allegations contained in paragraph 6 of Plaintiff's Complaint.

7. Defendant is without sufficient knowledge to form a belief as to the truth of the
allegations and therefore denies the allegations contained in paragraph 7 of Plaintiff's Complaint.

8, Defendant is without sufficient knowledge to form a belief as to the truth of the
allegations and therefore denies the allegations contained in paragraph 8 of Plaintiff's Complaint.

9. Defendant is without sufficient knowledge to form a belief as to the truth of the
allegations and therefore denies the allegations contained in paragraph 9 of Plaintiff's Complaint.

10. Defendant is without sufficient knowledge to form a belief as to the truth of the
allegations and therefore denies the allegations contained in paragraph 10 of Plaintiff's

Complaint.

11. Defendant is without sufficient knowledge to form a belief as to the truth of the
allegations and therefore denies the allegations contained in paragraph 11 of Plaintiffs
Complaint.

12, Defendant admits to sending a June [6, 2008 letter. Defendant is without
sufficient knowledge to form a belief as to the truth of the remaining allegations and therefore
denies the remaining allegations contained in paragraph 12 of Plaintiff's Complaint.

13. Defendant is without sufficient knowledge to form a belief as to the truth of the
allegations and therefore denies the allegations contained in paragraph 13 of Plaintiffs
Complaint.

14, Defendant is without sufficient knowledge to form a belief as to the truth of the
allegations and therefore denies the allegations contained in paragraph 14 of Plaintiff's
Complaint.

15. Defendant is without sufficient knowledge to form a belief as to the truth of the
allegations and therefore denies the allegations contained in paragraph 15 of Plaintiffs
Complaint.

 
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Complaint.

27.

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Defendant is without sufficient knowiedge to form a belief as to the truth of the
and therefore denies the allegations contained in paragraph 16 of Plaintiffs

Defendant is without sufficient knowledge to form a belief as to the truth of the
and therefore denies the allegations contained in paragraph 17 of Plaintiffs
Defendant is without sufficient knowledge to form a belief as to the truth of the

and therefore denies the allegations contained in paragraph 18 of Plaintiffs

Defendant is without sufficient knowledge to form a belief as to the truth of the
and therefore denies the allegations contained in paragraph 19 of Plaintiff's

Defendant admits the allegations contained in paragraph 20 of Plaintiffs
Defendant admits the allegations contained in paragraph 21 of Plaintiff's
Defendant incorporates herein by reference each of its responses set forth above.

Defendant is without sufficient knowledge to form a belief as to the truth of the

and therefore denies the allegations contained in paragraph 23 of Plaintiff's

Defendant is without sufficient knowledge to form a belief as to the truth of the
and therefore denies the allegations contained in paragraph 24 of Plaintiff's

Defendant is without sufficient knowledge to form a belief as to the truth of the
and therefore denies the allegations contained in paragraph 25 of Plaintiffs

Defendant is without sufficient knowledge to form a belief as to the truth of the
and therefore denies the allegations contained in paragraph 26 of Plaintiffs

Defendant incorporates herein by reference each of its responses set forth above.

 
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28. Defendant is without sufficient knowledge to form a belief as to the truth of the
allegations and therefore denies the allegations contained in paragraph 28 of Plaintiffs
Complaint.

29. Defendant is without sufficient knowledge to form a belief as to the truth of the
allegations and therefore denies the allegations contained in paragraph 29 of Plaintiffs
Complaint.

30. Defendant denies the allegations contained in paragraph 30 of Plaintiff's

Complaint.
31. Defendant incorporates herein by reference each of its responses set forth above.

32. Defendant is without sufficient knowledge to form a belief as to the truth of the
allegations and therefore denies the allegations contamed in paragraph 32 of Plaintiffs
Complaint.

33. Defendant denies the allegations contained in paragraph 33 of Plaintiff's
Complaint.

34. Defendant denics the allegations contained m paragraph 34 of Plaintiffs
Complaint.

35. Defendant incorporates herein by reference each of its responses set forth above.

36. Defendant is without sufficient knowledge to form a belief as to the truth of the
allegations and therefore denies the allegations contained in paragraph 36 of Plaintiffs
Complaint.

37, Defendant is without sufficient knowledge to form a belief as to the truth of the
allegations and therefore denies the allegations contained in paragraph 37 of Plaintiff's
Complaint.

38. Defendant is without sufficient knowledge to form a belief as to the truth of the
allegations and therefore denies the allegations contained in paragraph 38 of Plaintiff's
Complaint.

39. Defendant incorporates herein by reference each of its responses set forth above.

40. Defendant is without sufficient knowledge to form a belief as to the truth of the
allegations and therefore denies the allegations contained in paragraph 40 of Plaintiff's

Complaint.

 
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4]. Defendant is without sufficient knowledge to form a belief as to the truth of the
allegations and therefore denies the allegations contained in paragraph 41 of Plaintiff's
Complaint.

42. Defendant is without sufficient knowledge to form a belief as to the truth of the
allegations and therefore denies the allegations contained in paragraph 42 of Plaintiffs
Complaint.

43. Defendant admits to sending a June 16, 2008 letter. Defendant is without
sufficient knowledge to form a belief as to the truth of the remaining allegations and therefore
denies the remaining allegations contained in paragraph 43 of Plaintiff's Complaint.

44. Defendant is without sufficient knowledge to form a belief as to the truth of the
allegations and therefore denies the allegations contained in paragraph 44 of Plaintiff's

Complaint.

45. Defendant is without sufficient knowledge to form a belief as to the truth of the
allegations and therefore denies the allegations contained in paragraph 45 of Plaintiff's
Complaint.

Defendant denies any and all allegations asserted by Plaintiff in its Prayer for Relief.

 

AFFIRMATIVE DEFENSES
I. The Complaint fails to state a claim upon which relief may be granted.
2. Plaintiff may have failed to mitigate its injuries, damages and losses.
3. Plaintiff's claims are barred, in whole, or in part, by one or more equitable

doctrines including, but not limited to, accord, satisfaction, waiver, estoppel and laches.

4. Plaintiff's damages, if any, are limited as defined by all applicable constitutional
and statutory provisions, and applicable case law.

5, Plaintiff's right to relief, if any, ts barred by its own failure to act in good faith
and/or Plaintiff has committed a material breach thereof.

6. One or more of Plaintiff's claims are frivolous, groundless and not supported by
substantial justification.

7. Plaintiff's claims are barred by the doctrines of acceptance and ratification.

8. Plaintiff's claims are barred by Plaintiff's own comparative or contributory
negligence, fault, bad faith, misconduct, wrongful acts or improper conduct.

 
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9. The damages recoverable, if any, against Defendant are subject to reduction for
payment from collateral sources pursuant to C.R.S. § 13-21-111.6.

10. The damages recoverable herein are subject to all relevant statutory limitations,
inchiding, but not limited to, those set forth in C.R.S. § 13-21-10i, et seq., particularly C.R.S. §
13-21-102.5.

11. Plaintiff's clanms may be barred by the applicable Statute of Limitations.
12. Plaintiff's claims may be barred or reduced by C.R.S. 13-21-1115
13. The complaint may have failed to name an indispensable party.

14.‘ Plaintiffs claims, im whole or in part, may be barred by some or all of the
affirmative defenses contemplated by the rules, applicable case law, statutes or other applicable
authority. To the extent plaintiff's claims may be barred by one or more of said affirmative
defenses, not specifically set out above, and may be undetermined until Defendant has had the
opportunity to conduct discovery. Defendant incorporates all said affirmative defenses as if fully
set forth herein.

15. Plaintiff's claims may be based on an illegal contact.
16. Plaintiff may be unlicensed to that which it promised to do.
17. Plaintiff may have been the first to breach any contract implied or otherwise.

18. Defendant reserves the right to raise additional affirmative defenses as such
defenses become apparent through the course of discovery.

COUNTERCLAIMS

L, Defendant Command Center, Inc. (Command Center) is a Corporation
incorporated under the laws of Washington State with a principal place of business of 3773 W
5th Ave, Post Falls, UD 83854.

2, Plaintiff AdvantEdge Insurance Group, LLC, (AdvantEdge) is a Colorado limited
liability company with its principal place of business at 9777 Mt. Pyramid Ct., Suite 200,
Englewood, CO 80112.

3. Upon information and belief, Moreton Insurance of Colorado, LLC dba Moreton
& Company (“Moreton & Company”), is a Colorado limited liability company with its principal
place of business at 4600 S. Ulster Street, Suite 380, Denver, CO 80237.

4. Upon mformation and belief, Keith Anderson and Terry Evanson were employed
at and working for AdvantEdge and Moreton & Company when they undertook to act as
insurance producers to obtain insurance policies for Command Center.

 
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5. Venue is proper pursuant to C.R.C.P. 98(c).
General Allegations

6. Upon information and belief, AdvantEdge and Moreton & Company were the
insurance producers for Command Center from 2006 to 2008. At relevant times, AdvantEdge
and Moreton & Company acted as Command Center’s agent and were to procure insurance
policies, including, but not limited to, going to the market place to obtain quote information and
information on premiums on behalf of Command Center through AdvantEdge’s and Moreton &
Company’s mutual employees of Keith Anderson and Terry Evanson,

7, Upon information and belief, AdvantEdge and Moreton & Company were to
provide assistance in obtaining multiple policy lines of insurance at reasonable rates and terms as
an insurance producer.

8. Upon information and belief, a special relationship as defined under Colorado law
for Insurance Producers and Insureds existed between AdvantEdge, Moreton & Company and
Command Center.

9, Upon information and behef, AdvantEdge and Moreton & Company failed to
perform its due diligence and/or perform tts duties in procuring said insurance in a reasonable
manner, or within the appropriate standard of care, including but not limited to, committing
errors and omissions in submissions to World Wide Specialty Programs, Inc.

10. Upon information and belief, AdvantEdge and Moreton & Company committed
affirmative fraud when they obtained the insurance policies for 2006 through 2008 for Command
Center.

11. | Upon information and belief, AdvantEdge and Moreton & Company worked with
World Wide Specialty Programs, Inc. in an effort to have World Wide Specialty Programs, Inc.
underwrite the policies for AIG.

12. Upon information and belief, AdvantEdge and Moreton & Company failed to
meet the standard of care for insurance producers and failed to provide necessary and essential
documentation to World Wide Specialty Programs, Inc. during the underwriting process. This
failure on the part of AdvantEdge and Moreton & Company through their agents, Terry Evanson
and Keith Anderson, resulted in outrageously high premiums and collateral expenditures to be
charged to Command Center.

First Claim for Relief
(Breach of Implied Contract)

13. Command Center hereby incorporates the allegations contained in Paragraphs |
through 12 of this Counterclaim as if fully set forth herein.

 
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14, An implied in fact contract existed between Command Center, Inc., AdvantEdge
and Moreton & Company, in which AdvantEdge and Moreton & Company were to obtain quotes
and information on premiums on insurance policies for Command Center, Inc.

15. AdvantEdge and Moreton & Company failed to perform, which resulted in
damages in the form of costs and expenditures related to their failure to act within the standard of
care and failed to properly review the market for said policies from 2006 to 2008, obtain
reasonable and competitive information on policies and provide the necessary documentation to
other parties in order to obtain appropriate coverage and appropriate premium and other
financing information related to the cost of said policies.

16. | AdvantEdge and Moreton & Company’s breach, through its agents Evanson and
Anderson, caused Command Center, Inc. to pay unreasonably high premiums from 2006-2008
and other collateral expenditures, including, but not limited to, replacement costs and fees,
penalties for early cancellations, and other additional costs.

Second Claim for Relief
(Breach Contract)

17. Command Center hereby incorporates the allegations contained in Paragraphs 1
through 16 of this Counterclaim as if fully set forth herein.

18. A contract existed between Command Center, Inc., AdvantEdge and Moreton &
Company, in which AdvantEdge and Moreton & Company were to obtain quotes and
information on premiums on insurance policies for Command Center, Inc.

19, AdvantEdge and Moreton & Company failed to perform, which resulted damages
in the form of costs and expenditures related to their failure to act within the standard of care and
failed to properly review the market for said policies from 2006 to 2008, obtain reasonable and
competitive information on policies and provide the necessary documentation to other parties in
order to obtain appropriate coverage and appropriate premium and other financing information
related to the cost of said policies,

20.  AdvantEdge and Moreton & Company’s breach, through its agents Evanson and
Anderson, caused Command Center, Inc. to pay unreasonably high premiums from 2006-2008
and other collateral expenditures, including, but not limited to, replacement costs and fees,
penalties for early cancellations, and other additional costs,

Third Claim for Relief
(Unjust Enrichment)

21. Command Center hereby incorporates the allegations contained in Paragraphs |
through 20 of this Counterclaim as if fully set forth herein.

 
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22. Upon information and belief, AdvantEdge and Moreton & Company collected
commissions based on overly high priced premiums charged to Command Center from 2006 to
2008.

23. Upon information and belief, the commissions received by AdvantEdge and
Moreton & Company were based on overly high premiums due to AdvantEdge and Moreton &
Company’s failure to act within the standard of care and failure to properly review the market for
said policies from 2006 to 2008, obtain reasonable and competitive information on policies, and
provide the necessary documentation to other parties in order to obtain appropriate coverage and
appropriate premium and other financing information related to the cost of said policies.

24, Additionally, AdvantEdge and Moreton & Company collected certain amounts for
commission based on the paid premiums including $37,059.13 for the policies obtained in 2008
for Command Center. Because those policies were cancelled by Command Center, the unearned
commissions were to be returned and refunded to Command Center.

25. Upon information and belief, AdvantEdge and/or Moreton & Company have
failed to refund the commission amount which is to be returned to Command Center.

26. Upon information and belief, Command Center significantly overpaid premiums
and other costs for policies obtained on behalf of Command Center by AdvantEdge and Moreton
& Company from 2006 to 2008. AdvantEdge and Moreton & Company collected commissions
based on the overly priced premiums and costs due to their failure to act within the standard of
care and failure to properly review the market for said policies from 2006 to 2008, obtain
reasonable and competitive information on policies, and provide the necessary documentation to
other parties in order to obtain appropriate coverage and appropriate premium and other
financing information.

27, The commissions collected, therefore, unjustly enriched AdvantEdge and
Moreton & Company due to their failures. Thus, AdvantEdge and Moreton & Company were
unjustly enriched by collecting commission on overly high priced insurance policies and those
commissions should be reduced or returned to Command Center,

Fourth Claim for Relief
(Negligence; Breach of an Insurance Agent’s duty to act with Reasonable Care)

28. Command Center hereby incorporates the allegations contained in Paragraphs 1
through 27 of this Counterclaim as if fully set forth herein.

29. Upon information and belief, AdvantEdge and Moreton & Company individually
and through their employees Terry Evanson and Keith Anderson breached an insurance agent’s
duty to act with reasonable care in obtaining insurance for Command Center for 2006 through
2008.

 
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30. Upon information and belief, AdvantEdge and Moreton & Company individually
and through their employees Terry Evanson and Keith Anderson developed a special relationship
with Command Center, as evidenced by the emails between the parties showing AdvantEdge’s
attempt to guide and steer Command Center in matters of insurance, reputation, and credit
worthiness.

31. | Upon information and belief, a special relationship existed between the parties
pursuant to Kaercher v. Sater, et al., 155 P.3d 437, 441 (Colo. App. 2006), citations omitted.

Fifth Claim for Relief
(Breach of Fiduciary Duty)

32. Command Center hereby incorporates the allegations contained in Paragraphs 1
through 31 of this Counterclaim as if fully set forth herein.

33.  AdvantEdge and Moreton & Company, through their mutual employees Terry
Evanson and Keith Anderson, owed Command Center a fiduciary duty in performing as
insurance producers and in obtaining reasonable insurance polices from 2006 through 2009.

34. AdvantEdge and Moreton & Company breached their fiduciary duty by failing to
adhere to the standard of care in the industry, by failimg to provide proper documentation on
request for underwriting, and by failing to obtain accurate information on quotes and premium
mformation.

35. AdvantEdge and Moreton & Company’s breach, through its agents Evanson and
Anderson, caused Command Center to pay unreasonably high premiums from 2006-2008 and
other collateral expenditures, including, but not limited to, replacement costs and fees, penalties
for early cancellations, and other additional costs,

Sixth Claim for Relief
(Affirmative Fraud)

36. | Command Center hereby incorporates the allegations contained in Paragraphs 1
through 35 of this Counterclaim as if fully set forth herein.

37. Upon information and belief, AdvantEdge and Moreton & Company individually
and through their employees Terry Evanson and Keith Anderson represented to Command
Center that the policies issued from 2006 through 2008, with its outrageously high premium, was
the only option for insurance coverage available to Command Center.

38. Upon information and belief, this representation was false as indicated by
Command Center’s ability to obtain the same or similar coverage for a much lower rate in 2008.

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39. Upon information and belief, the communications from AdvantEdge and Moreton
& Company through their employees Terry Evanson and Keith Anderson are indicative of this
attempt to decetve Command Center into believing that the revocation of AdvantEdge’s
authority as Broker of Record would harm Command Center’s reputation and credit.

40, Upon information and belief, from 2006 through 2008 Command Center,
believing the representations of AdvantEdge and Moreton & Company individually and through
their employees Terry Evanson and Keith Anderson, purchased policies with over-inflated
premiums.

Al, Upon information and belief, the affirmative fraud caused Command Center to
pay unreasonably high premiums from 2006-2008 and other collateral expenditures, including,
but not limited to, replacement costs and fees, penalties for early cancellations, and other
additional costs.

Seventh Claim for Relief
(Respondeat Superior)

42. Command Center hereby incorporates the allegations contained in Paragraphs 1|
through 41 of this Counterclaim as if fully set forth herein.

43. Upon imformation and belief, AdvantEdge and Moreton & Company both
employed Terry Evanson and Keith Anderson to act as insurance producers on their behalf as
officers and/or directors of each company from 2006 through 2008. Terry Evansen and Keith
Anderson acts or omissions to act are the acts of AdvantEdge and Moreton.

44. Upon information and belief, the act of in placing a policy with an outrageously
over-inflated premium from 2006 through 2008, by Terry Evanson and Keith Anderson were
performed on behalf of AdvantEdge and Moreton & Company.

45. | Upon information and belief, the acts of in placing a policy with an outrageously
over-inflated premium from 2006 through 2008, by Terry Evanson and Keith Anderson were
within the course and scope of Terry Evanson’s and Keith Anderson’s employment with
AdvantEdge and Moreton & Company.

DEFENDANT COMMAND CENTER, INC.
HEREBY DEMANDS A TRIAL TO A JURY.

WHEREFORE, Command Center prays that judgment be entered in its favor and against

AdvantEdge and Moreton & Company, and that Command Center be awarded its damages,
costs, attorneys’ fees, and such other and further relief as the Court may deem proper

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Respectfully submitted this 9"" day of June, 2011.

THOMAS POLLART & MILLER LLC

 

Tan Ray Mitchell
Attorneys for Defendant

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